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                     2:23-mj-05781-DUTY All Defendants USA v. Lee
                                  Date filed: 11/08/2023
                               Date terminated: 11/08/2023
                              Date of last filing: 11/13/2023



                                           History
Doc.
                      Dates                                      Description
No.
       Filed:                   11/08/2023 Notice to Receiving District of Criminal Case
       Entered:                 11/13/2023 Transfer
       Docket Text: Notice to District of Massachusetts of a Rule 5 or Rule 32 Initial Appearance
       as to Defendant James Yun Lee. Your case number is: 22mj4605-DHH. The clerk will
       transmit any restricted documents via email. Using your PACER account, you may
       retrieve the docket sheet and any text-only entries via the case number link. The following
       document link(s) is also provided: [10] Warrant of Removal and Commitment to Another
       District. If you require certified copies of any documents, please send a request to email
       address CrimIntakeCourtDocs-LA@cacd.uscourts.gov (mhe)
 1     Filed:                   11/08/2023 Affidavit - Out-of-District Warrant (Rule 5(c)(3))
       Entered:                 11/13/2023
       Docket Text: AFFIDAVIT RE: OUT-OF-DISTRICT WARRANT (Rule 5(c)(3)) filed as
       to defendant James Yun Lee, originating in the District of Massachusetts. Defendant
       charged in violation of: 18:2422,371. Signed by agent Erin Herrgott, HSI, Special Agent.
       USA. (mhe)
 2     Filed:                   11/08/2023 Report Commencing Criminal Action (CR-64)
       Entered:                 11/13/2023
       Docket Text: REPORT COMMENCING CRIMINAL ACTION as to Defendant James
       Yun Lee; defendants Year of Birth: 1955; date of arrest: 11/8/2023 (mhe)
 3     Filed:                   11/08/2023 Notice of Request for Detention
       Entered:                 11/13/2023
       Terminated:              11/08/2023
       Docket Text: NOTICE OF REQUEST FOR DETENTION filed by Plaintiff USA as to
       Defendant James Yun Lee (mhe)
 4     Filed:                   11/08/2023 Order on Request for Detention
       Entered:                 11/13/2023
       Docket Text: MINUTES OF ARREST ON OUT OF DISTRICT WARRANT held before
       Magistrate Judge Margo A. Rocconi as to Defendant James Yun Lee. Contested detention
       hearing held, ranting [3] REQUEST for Detention as to James Yun Lee (1). Defendant
       arraigned and states true name is as charged. Attorney: Carlos L. Juarez for James Yun
       Lee, Appointed, present. Court orders defendant Permanently detained. Court orders
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    defendant held to answer to District of Massachusetts. Warrant of Removal and final
    commitment to issue. (KOREAN) INTERPRETER Required as to Defendant James Yun
    Lee Court Smart: CS 11/8/23. (mhe)
5   Filed:                  11/08/2023 Warrant of Arrest Issued by Other District
    Entered:                11/13/2023
    Docket Text: Defendant James Yun Lee arrested on warrant issued by the USDC District
    of Massachusetts at Worcester. (Attachments: # (1) Charging Documents)(mhe)
6   Filed:                  11/08/2023 Order of Detention
    Entered:                11/13/2023
    Docket Text: ORDER OF DETENTION by Magistrate Judge Margo A. Rocconi as to
    Defendant James Yun Lee, (mhe)
7   Filed:                  11/08/2023 Waiver of Rights (Out-of-District)(M-14)
    Entered:                11/13/2023
    Docket Text: WAIVER OF RIGHTS approved by Magistrate Judge Margo A. Rocconi as
    to Defendant James Yun Lee. (mhe)
8   Filed:                  11/08/2023 Advisement of Defendant's Statutory &
    Entered:                11/13/2023 Constitutional Rights (CR-10)
    Docket Text: ADVISEMENT OF STATUTORY & CONSTITUTIONAL RIGHTS filed
    by Defendant James Yun Lee. (mhe)
9   Filed:                  11/08/2023 Financial Affidavit (CJA 23) - NFPV
    Entered:                11/13/2023
    Docket Text: FINANCIAL AFFIDAVIT filed as to Defendant James Yun Lee. (Not for
    Public View pursuant to the E-Government Act of 2002) (mhe)
10 Filed:                   11/08/2023 Warrant of Removal and Commitment to Another
   Entered:                 11/13/2023 District
    Docket Text: WARRANT OF REMOVAL AND COMMITMENT by Magistrate Judge
    Margo A. Rocconi that Defendant James Yun Lee be removed to the District of
    Massachusetts (mhe)
11 Filed & Entered:         11/13/2023 Audio Recording Form (AO-436)
    Docket Text: COMPACT DISC Order for date of proceedings November 8, 2023 to
    November 8, 2023 as to Defendant James Yun Lee Court will contact Sarah Spielberger at
    Sarah.Spielberger@usdoj.gov with any questions regarding this order. Transcript portion
    requested: Other: Detention Hearing. Federal Government Agency - No fee required:
    United States Attorneys Office.(Spielberger, Sarah)
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Case 1:23-mj-04605-DHH Document 22 Filed 11/14/23 Page 6 of 6
